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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

 UNITED STATES OF AMERICA                  )
                                           )
        v.                                 )         CASE NO. 2:13-CR-159-WKW
                                           )                     [WO]
 DERRICK GADSDEN                           )

                   MEMORANDUM OPINION AND ORDER

                               I. INTRODUCTION

        In November 2014, Defendant was convicted of one count of conspiracy to

commit wire fraud in violation of 18 U.S.C. §§ 1343 and 1349. As a result of his

conviction, Defendant was sentenced to the statutory maximum term of 240 months’

imprisonment, followed by 3 years’ supervised release, and was ordered to pay $1

million in restitution. (Doc. # 158.) His projected release date is December 30,

2030.    See Find an Inmate, Federal Bureau of Prisons, https://www.bop.gov/

inmateloc/ (last visited Oct. 18, 2021).

        Before the court is Defendant’s third pro se motion for compassionate release

(Doc. # 254), in which he seeks to modify an imposed term of imprisonment

pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). The Government filed a response in

opposition (Doc. # 261) to which Defendant filed a reply (Doc. # 267). For the

reasons to follow, the motion is due to be denied.
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                                II. DISCUSSION

      “[C]ourts are generally forbidden from altering a sentence once it becomes

final.” United States v. Bryant, 996 F.3d 1243, 1251 (11th Cir. 2021), petition for

cert. filed, No. 20-1732 (U.S. June 15, 2021). Section 3582(c)(1)(A)(i), as amended

by the First Step Act, offers courts a narrow reprieve to reduce a sentence for

“extraordinary and compelling reasons.” It provides in relevant part:

      The court may not modify a term of imprisonment once it has been
      imposed except that—(1) in any case—(A) the court . . . upon motion
      of the defendant . . . may reduce the term of imprisonment . . . , after
      considering the factors set forth in section 3553(a) to the extent that
      they are applicable, if it finds that—(i) extraordinary and compelling
      reasons warrant such a reduction . . . and that such reduction is
      consistent with applicable policy statements issued by the Sentencing
      Commission.

§ 3582(c)(1)(A)(i) (citing 18 U.S.C. § 3553(a)). In United States v. Tinker, the

Eleventh Circuit succinctly summarized what § 3582(c)(1)(A) requires:

      [B]y dint of § 3582(c)(1)(A)’s plain text, a district court may reduce a
      term of imprisonment if (1) the § 3553(a) sentencing factors favor doing
      so, (2) there are “extraordinary and compelling reasons” for doing so,
      and, as relevant here, (3) doing so wouldn’t endanger any person or the
      community within the meaning of § 1B1.13’s policy statement.

No. 20-14474, 2021 WL 4434621, at *2 (11th Cir. Sept. 28, 2021). The defendant

bears the “burden to establish that he qualifie[s] for compassionate release.” United

States v. Smith, 856 F. App’x 804, 806 (11th Cir. 2021) (citing United States v.

Hamilton, 715 F.3d 328, 337 (11th Cir. 2013)).



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      Based upon a thorough review of the record, Defendant fails on all three of

§ 3582(c)(1)(A)’s conditions for obtaining compassionate release.

A.    Extraordinary and Compelling Reasons

      Defendant has not established extraordinary and compelling reasons

warranting his early release from prison. He originally argued that, if sentenced

today, multiple amendments to the Sentencing Guidelines would have resulted in his

receiving a lower sentence. (Doc. # 254, at 4–5.) After he filed his motion, however,

the Eleventh Circuit decided United States v. Bryant, 996 F.3d 1243 (11th Cir. 2021),

and Defendant now concedes that Bryant forecloses his reliance on guideline

amendments     as   constituting   extraordinary    and    compelling    reasons   for

compassionate release. (Doc. # 267, at 4–5.) His concession is correct.

      In Bryant, the Eleventh Circuit held that U.S.S.G. § 1B1.13 “is an applicable

policy statement that governs all motions under Section 3582(c)(1)(A),” including

those filed by inmates, and thus “district courts may not reduce a sentence under

Section 3582(c)(1)(A) unless a reduction would be consistent with 1B1.13.” 996

F.3d at 1262. Pertinent here, § 1B1.13 delineates four categories that constitute

extraordinary and compelling reasons for compassionate release: (A) a defendant’s

medical condition, which includes, among other conditions, a “serious physical or

medical condition”; (B) a defendant’s age; (C) a defendant’s family circumstances;

and (D) “other reasons . . . [a]s determined by the Director of the Bureau of Prisons.”


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§ 1B1.13, cmt. n.1(A)–(D). Importantly, as pronounced in Bryant, application note

1(D), which is the catch-all provision, “does not grant discretion to courts to develop

‘other reasons’ that might justify a reduction in a defendant’s sentence.” Bryant,

996 F.3d at 1248; see also id. at 1262–65. That discretion lies only with the Bureau

of Prisons. Hence, application notes 1(A), (B), and (C) to § 1B1.13 constrain district

courts in determining whether a defendant has established extraordinary and

compelling reasons justifying compassionate release.

      A favorable amendment to the Sentencing Guidelines decided after the

imposition of the defendant’s sentence that would reduce a defendant’s sentence—

even one that is retroactive—is not a reason specified in § 1B1.13 that district courts

can consider. This reason does not relate to Defendant’s medical conditions, his age,

or his family circumstances. Because new guideline amendments are not explicitly

identified in § 1B1.13’s application notes 1(A) through 1(C), this court lacks

authority to examine whether it falls within the catch-all exception.

      In his reply brief, Defendant alternatively states that he is obese and is a

former, ten-year cigarette smoker. He argues that these circumstances make him

susceptible to severe illness if he contracts COVID-19 and present extraordinary and

compelling reasons for compassionate release. Under § 1B1.13, a serious medical

condition can qualify as an extraordinary and compelling reason for compassionate

release, see § 1B1.13 cmt. n.1(A)(ii)(I), but only where that condition “substantially


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diminishes the ability of the defendant to provide self-care within the environment

of a correctional facility” and is one “from which [the inmate] is not expected to

recover,” § 1B1.13 cmt. n.1(A). Defendant has submitted no evidence that his self-

care is inhibited in any manner. Nor has he shown that the medical personnel at his

designated federal correctional institution are unable to provide him adequate

treatment for his medical care.1 See § 3553(a)(2)(D); see also United States v.

Sanchez, No. 2:17CR337-MHT, 2020 WL 3013515, at *1 (M.D. Ala. June 4, 2020)

(denying an inmate’s motion for compassionate release in part based on the absence



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         Additionally, since the filing of Defendant’s motion for compassionate release, there have
been two developments that are noteworthy. First, according to the BOP’s website, as of October
15, 2021, the facility where Defendant is incarcerated—Federal Correctional Institution Yazoo
City Medium (“FCI Yazoo City Medium”)—has no active COVID-19 cases among its inmates or
staff. See Bureau of Prisons Covid-19 Cases, available at https://www.bop.gov/coronavirus/
index.jsp (last visited Oct. 18, 2021). This is a marked improvement. See id. Second, the BOP
has administered 233,200 doses of the COVID-19 vaccine to its approximate 36,000 staff and to
its inmates, which as of October 14, 2021’s count was 156,675. See BOP Covid-19 Vaccine
Implementation, available at https://www.bop.gov/coronavirus/index.jsp (last visited Oct. 18,
2021); BOP Statistics, https://www.bop.gov/ about/statistics/population_statistics.jsp (providing
that inmate statistics are updated each Thursday) (last visited Oct. 18, 2021).
        While there is no evidence as to whether Defendant has received a COVID-19 vaccine, it
appears to be readily available at the Federal Correctional Complex Yazoo City (“FCC Yazoo
City”). FCC Yazoo City comprises three facilities: (1) FCI Yazoo City Low; (2) FCI Yazoo City
Medium; and (3) USP Yazoo City. See BOP, https://www.bop.gov/locations/list.jsp (last visited
Oct. 18, 2021). The vaccination statistics are available for FCC Yazoo City as a whole, and are
not broken down by the individual institutions within the complex. The BOP’s website indicates
that, since the rollout of the COVID-19 vaccine, 370 staff members and 2,501 inmates have
received both doses of the vaccine at FCC Yazoo City and, thus, have been fully inoculated. See
BOP COVID-19 Vaccine Implementation, https://www.bop.gov/coronavirus/index.jsp (last
visited Oct. 18, 2021). As of today’s date, the BOP reports that there are 3,640 inmates at FCC
Yazoo City. See BOP, https://www.bop.gov/locations/institutions/yap/; https://www.bop.gov/
locations/institutions/yam/; https://www.bop.gov/locations/institutions/yaz/ (last visited Oct. 18,
2021). It is clear from these statistics that the vaccination rate at FCC Yazoo City exceeds that of
the general population in the state of Alabama.

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of evidence “that the prison is unable to meet [the inmate’s] medical needs” (citing

§ 3553(a)(2)(D))). On this record, his medical conditions are insufficient to rise to

the level of extraordinary and compelling reasons for compassionate release.

B.    The § 3553(a) Factors

      The § 3553(a) factors, considered in light of Defendant’s “current

circumstances” and “his circumstances at the time of his original sentencing,” do not

warrant early release. United States v. Groover, 844 F. App’x 185, 188 (11th Cir.

2021); see also United States v. Rind, 837 F. App’x 740, 744 (11th Cir. 2020)

(observing that, under § 3553(a), the defendant’s “medical conditions . . . are part of

his history and characteristics”). The nature and circumstances of Defendant’s

offense and his history and characteristics do not favor release. See § 3553(a)(1).

Defendant and his brother operated a large-scale conspiracy in which they would

open or recruit others to open checking accounts with minimum deposit amounts

and then would use bad checks from those accounts to make big-ticket purchases

from businesses.     (Presentence Investigation Report (“PSR”) ¶¶ 6–14.)          The

businesses victimized by Defendant’s scam totaled 120, and actual losses exceeded

$1,418,000.    (PSR ¶¶ 17, 23.)      Defendant, who was thirty-four years old at

sentencing, also has a lengthy, significant criminal history, which spanned nearly

fifteen years. (See generally PSR, Part B; Doc. # 183, at 114–16.) His criminal




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convictions placed him in a criminal history category VI. (PSR ¶¶ 46–48; Doc.

# 183, at 106.)

       Furthermore, under § 3553(a)(2), Defendant’s release at this juncture—with

substantial time remaining on his twenty-year sentence—would undercut the gravity

of his offenses, diminish public respect for the law, negate the deterrent value of

punishment, and weaken the value of a just punishment. See § 3553(a)(2). Overall,

the balancing of the § 3553(a) factors does not justify Defendant’s release.

C.     Danger to the Community

       Finally, Defendant must demonstrate that he “is not a danger to the safety of

any other person or to the community, as provided in 18 U.S.C. § 3142(g).”

§ 1B1.13. All of the factors in § 3142(g) have been considered carefully. After

careful deliberation, the court finds that Defendant has failed to meet his burden on

this condition for compassionate release.

D.     Conclusion

       Defendant has not met his burden of demonstrating § 3582(c)(1)(A)’s

conditions for obtaining a sentence reduction.               He, thus, is not entitled to

compassionate release.2




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          To the extent that Defendant also argues for a sentence reduction under 18 U.S.C.
§ 3582(c), that argument is rejected for the reasons set out in the Government’s response. (Doc.
# 261, at 3.)

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                                III. ORDER

      For the foregoing reasons, it is ORDERED that Defendant’s third pro se

motion for compassionate release (Doc. # 254) is DENIED.

      DONE this 18th day of October, 2021.

                                         /s/ W. Keith Watkins
                                    UNITED STATES DISTRICT JUDGE




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